
The Supreme Court affirmed the judgment of the Common Pleas on October 21st, 1878, in the following opinion:
Per Curiam.
Without a good title to the premises in the State, acquired by an exercise of the power of eminent domain or by the voluntary and clearly intended dedication of the owners of this part of the alleged canal basin to public use, it is very clear the present ownei of the property of the State has very little show of equity. This part of the so-called basin was used by the owner of the land for private uses, and by means (the ways or skids) giving notice of a different title and use. The State hersel abandoned her canal and works and they fell into disuse and decay.. The Railroad Company found a state of facts which did not accord well with either dedication or estoppel. The question of original taking has been dispose I of by the verdict of the jury against the company under a fair decree and submission; while the other questions are not only doubtful in equity, but in the evidence, to raise them. We do not see that the Court below committed any substantial error.
Judgment affirmed.
